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18 CaP. 14-643 7°BSS™ Bocument 3 Entered on FLSD Docket 10/21/2010 Page 1 of 1 |

UNITED STATES DIETRICY COURT
Southern District of Florida

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UNITED STATES OF AMERICA )
)
) REPORT COMMENCING CRINTEAL
)
)
)

Plaintiff

 

 

   

-VS~ ACTION
Ketth A Dura Ey p- ~ry.
Defendant SMS NUMBER

SISA RRA MRA EM RAR ARARARA RARER RARE AMER REAM x

TO: Clerk's. office MIAMY CFT. FT. LAUDERDALE> #.
U.S. District Court Fr. PIERCE
(eircle one of above
NOTE: CIRCLE APPROPRIATE LOCATION FOR APPRARANC
MAGISTRATES COURT ABOVE.

RRA MARA KA RAR RAE RAR RAMA RR EAR RAE RRR AR ER RE

All items are to be completed. Information not
unknewn will be indicated "N/A".

(1) Date and Time of Arrest: jo frofr Lose Ape Si 2 am¢En)

   

MDRRACH op

 
  
  

   
 

rOCT 21 2010

STEVEN M, LARIM;
* LER. Sane *

 

 

(2) Language Spoken: Cra Lé shy
(3) Offense(s) Charged: Tele 2h 4k GE fe.
(4) U.S. Citizen [pt"ves C 2 No {[ J Unknown . ~ .

 

(5) Date of Birth: 3/20 > /197 5 =

(6) Type. of Charging Document: (check one)
[ Indictment -[ J] Complaint to be filed/already filed

Case# Ashland Kenctineley 1f@- Or- je ~PLB

[ ] Bench Warrant for Failure to Appear
{ 1 Probation Violation Warrant

[ }] Parole Violation Warrant
Originating District: E| KY
COPY OF WARRANT LEFT WITH BOOKING OFFICER [ Es { Ine

Amount of Bond: S$  A/A
Who get Bond:

 

(7) Remarks: 9 | _
YS -

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- ww . f —
(8) Date: Jp/2} fle (9) Arresting otticer:_KeypeS Cartes
(10) Agency: DEA (11) Phone: Jo5~ tH6~ S377

(12) Comments: NA
_y

 
